






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00290-CR







Jerel Douglas Bigbee, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 427TH JUDICIAL DISTRICT


NO. D-1-DC-07-206024, HONORABLE JIM CORONADO, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Following a bench trial, appellant Jerel Douglas Bigbee was adjudged guilty of
murder.  See Tex. Penal Code Ann. § 19.02 (West 2003).  The court assessed punishment, enhanced
by a previous felony conviction, at twenty-five years in prison.

The fatal incident took place at a homeless camp under a freeway overpass in north
central Austin.  Appellant and the deceased, Freddie Black, had been drinking.  They began to argue
and scuffle, and appellant stabbed Black in the chest.  The knife blade penetrated Black's heart,
causing his death.  The stabbing was witnessed by two other persons, both of whom identified
appellant at trial.  Appellant testified that he acted in self-defense.

Appellant's court-appointed attorney on appeal has filed a motion to withdraw
supported by a brief concluding that the appeal is frivolous and without merit.  The brief meets the
requirements of Anders v. California, 386 U.S. 738 (1967), by presenting a professional evaluation
of the record demonstrating why there are no arguable grounds to be advanced.  See also Penson
v.&nbsp;Ohio, 488 U.S. 75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State,
516  S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  After receiving a copy of counsel's brief,
appellant filed a pro se brief in response.

We have reviewed the record and find no reversible error.  See Garner v. State,
No.&nbsp;PD-0904-07, 2009 Tex. Crim. App. LEXIS 1739, at *8 (Tex. Crim. App. Dec. 9, 2009); Bledsoe
v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).  We agree with counsel that the appeal
is frivolous.  The issues raised in appellant's pro se response to counsel's Anders brief have no
arguable merit.  See Garner, at *8; Bledsoe, 178 S.W.3d at 827.  Counsel's motion to withdraw
is&nbsp;granted.

The judgment of conviction is affirmed.



				___________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Pemberton

Affirmed

Filed:   December 18, 2009

Do Not Publish


